                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

UNITED STATES OF AMERICA,            )
                                     )
       Plaintiff,                    )
                                     )                             CASE NO: 3:12-cr-239
vs.                                  )
                                     )                                   ORDER
CARRIE TYSON (13),                   )
                                     )
       Defendant.
                                     )
_____________________________________)

         THIS MATTER is before the Court on the unopposed Motion to Withdraw as Counsel

by David Q. Burgess (Doc. No. 536). The Court conducted a hearing on this matter on March 18,

2014. For the reasons stated at the hearing, and for good cause shown, the Motion is GRANTED

and David Q. Burgess is hereby relieved of his duties as counsel of record for Defendant Carrie

Tyson.

         Also before the Court is Defendant’s pro se Motion Requesting Waiver to Represent

Herself (Doc. No. 527). At the hearing, Defendant stated that she was in the process of retaining

counsel. As such, the Court will reserve judgment on the Defendant’s Motion until Defendant is

either able to retain counsel or concludes that she wishes to represent herself.

SO ORDERED.

                                          Signed: March 19, 2014




                                                  1

       Case 3:12-cr-00239-GCM           Document 537           Filed 03/19/14      Page 1 of 1
